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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

________________________________________________
                                                )
QUYNH VU BAIN,                                  )
                                                )
       Plaintiff,                               )
                                                )
               v.                               )
                                                )
OFFICE OF THE ATTORNEY GENERAL                  )
U.S. Department of Justice,                     )
                                                )
OFFICE OF THE DEPUTY ATTORNEY GENERAL )
U.S. Department of Justice,                     )
                                                )          No. 21-Civ-1751 (RDM)
OFFICE OF PROFESSIONAL RESPONSIBILITY           )
U.S. Department of Justice,                     )
                                                )
EXECUTIVE OFFICE FOR IMMIGRATION                )
REVIEW, U.S. Department of Justice,             )
                                                )
OFFICE OF INFORMATION POLICY                    )
U.S. Department of Justice,                     )
                                                )
       Defendants.                              )
________________________________________________)


                             PLAINTIFF’S EXHIBIT 34

     (March 27, 2020 Response to Letter of the DOJ Complaint Adjudication Office)
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